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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION /(
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sANDRA K. WEBB and TABITHA ) ,,,% /5
N. wEBB, ) was 4,_ 2005
) .O. dpr¢@q_,,q eis
Plaintiffs, ) '~boo:°/r '*
) NO. 05-iiss-r/An °°"
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Vs. )
)
)
sTA'rE oF TENNESSEE, )
)
Defendant. )

 

ORDER DENYING PLAINTIFFS’ MOTION FOR CHANGE OF VENUE

 

On July 5, 2005, plaintiffs Sandra K. Webb and Tabitha N. Webb filed a complaint
for declaratory judgment, along with a motion for change of venue and separate motions to
proceed in forma pauperis The motion for change of venue also requests that the
undersigned judge recuse himself from presiding over this action.

As grounds for a change of venue, plaintiffs state that there was extensive media
coverage of their state court trial for animal cruelty in Madison County, Tennessee, which
will make a fair and unbiased trial in this case impossible and which renders this judge
unable to preside impartially in this matter. In addition, plaintiffs contend that recusal is
necessary because they are “good friends of [Madison County General Sessions] Judge

Christy Little, who worked along with” Jeanie Todd, who is the judge’s wife. Plaintiffs

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further contend that this judge “had a Shar-pei” from their place of business

Plaintiffs’ assertion that the media coverage of their state court trial would prevent
a fair and unbiased trial in this case is without merit. lf this case were to be tried before a
jury, the pool of jurors would be drawn from a seventeen-county area covering much of
western Tennessee. While there was some media coverage of plaintiffs’ animal cruelty trial,
it was not so extensive that an appropriate number of unbiased jurors could not be
empaneled from within that seventeen-county area. Likewise, the media coverage was not
so widespread that this judge is unable to preside impartially over this case. Thus, a change
of venue on the grounds of prejudicial media coverage is unwarranted

With regard to plaintiffs’ request for recusal ofthe undersigned judge, 28 U.S.C.

§ 144 provides:

Whenever a party to any proceeding in a district court makes and files a timely

and sufficient affidavit that the judge before whom the matter is pending has

a personal bias or prejudice either against him or in favor of any adverse party,

such judge shall proceed no further therein, but another judge shall be

assigned to hear such proceeding

ln addition, 28 U.S.C. § 455(a) provides that a judge shall disqualify himself “in any
proceeding in which his impartiality might reasonably be questioned.” Circumstances under
which a judge must disqualify himself include:

(l) Where he has a personal bias or prejudice concerning a party, or
personal knowledge of disputed evidentiary facts concerning the
proceedings;

(2) Where in private practice he served as lawyer in the matter in

controversy, or a lawyer with whom he previously practiced law served
during such association as a lawyer concerning the matter, or the judge

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or such lawyer has been a material witness concerning it;

(3) Where he has served in governmental employment and in such capacity
participated as counse], adviser, or material witness concerning the
proceeding or expressed an opinion concerning the merits of the
particular case . . . ;

(4) He knows that he . . . has a financial interest in the subject matter in
controversy;

(5) He or his spouse . . . :

(i) ls a party to the proceeding . . . ;

(ii) ls acting as a lawyer in the proceeding;

(iii) ls known by the judge to have an interest that could be substantially
affected by the outcome of the proceeding;

(iv) Is to the judge’s knowledge likely to be a material witness in the
proceeding

28 U.S.C. §455(b).

A judge must recuse himself if, knowing all the circumstances, a reasonable,
objective person would question thejudge’s impartiality U.S. v. Sammons, 918 F.2d 592,
599 (6th Cir. 199()) (citations omitted). “The standard is an objective one; hence, the judge
need not recuse himse]fbased on the ‘ subjective view ofaparty’ no matter how strongly that
view is held.” I_d. (citations omitted). Bias sufficient to justify recusal must be personal,
arising out of the judge’s background, and not based on the judge’s interpretation of the law.
Browning v. Foltz, 837 F.2d 276, 279 (6th Cir. 1988). A judge’s participation in the
proceedings or prior contact with related cases cannot support a demand for recusal
Sammons, 918 F.2d at 5 99. Sections 144 and 455 are to be read inpari materia to require

that disqualification be predicated upon extrajudicial conduct, rather than judicial conduct,

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and to require that the alleged bias and prejudice be personal rather than judicial.1 Da_vis_\g
(_3&, 734 F.2d 1302, 1303 (8“‘ Cir. 1984); Shaw v. Martin, 733 F.2d 304, 308 (4th Cir.
1984); United States v. Carmichael, 726 F.2d 158, 160 (4th Cir. 1984); United States v.
SM, 716 F.2d 1088, 1096 (6th Cir. 1983). Ajudge is presumed to be impartial, and a party
seeking disqualification bears the burden of alleging facts that would lead a reasonable
person to question the neutrality of the judge. United States v. Adams, 38 F.3d 1217, 1994
WL 589509 (6th Cir. 1994) (citing Holtv. KMI Continental. Inc., 821 F. Supp. 846, 847 (D.
Conn. 1993)).

The reasons offered by the plaintiffs for recusal are insufficient to lead a reasonable,
objective person to question this judge’s impartiality in the present action. While the
plaintiffs may be friends With Judge Little, who “worked along with” Jeanie Todd, that fact
is immaterial There is no evidence that Judge Little had any role in plaintiffs’ state court
trial, which was presided over by Madison County Circuit Court Judge Roger A. Page. ln
addition, this judge does not own, and has never owned, a shar-pei or any other dog
obtained from plaintiffs’ establishment

For all these reasons, plaintiffs’ motion for change of venue and for recusal of this
judge is DENIED.

Plaintiffs have also requested the recusal of Magistrate Judge S. Thomas Anderson

and Judge J. Daniel Breen. lt will be Magistrate Anderson’s responsibility to rule on

 

l The Supreme Court has held that § 455(b)’s “extrajudicial source” doctrine also applies to § 455(3). Liteg v.
United States, ll4 S. Ct. at ll47 (1994).

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whether he should recuse himself As for Judge Breen, this case is not assigned to him. If`
this case is ever transferred to Judge Breen, plaintiffs may renew their motion for recusal at
that time.

lT lS SO ORDERED.

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\MES D. TODD
Ui\lIlTED STATES DISTRICT J'UDGE

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DATE

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 1:05-CV-01188 was distributed by fax, mail, or direct printing on
July 18, 2005 to the parties listed.

 

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Honorable .1 ames Todd
US DISTRICT COURT

